          Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 1 of 15




                      Dr. Michael P. McDonald
Associate Professor, University of Florida
Department of Political Science
222 Anderson Hall
P.O. Box 117325
Gainesville, FL 32611

Office:        352-273-2371
Fax:           352-392-8127
Email:         michael.mcdonald@ufl.edu

Education
Post-Doctoral Fellow. Harvard University. August 1998 – August 1999.
Ph.D. Political Science. University of California, San Diego. February, 1999.
BS Economics. California Institute of Technology. June, 1989.

Awards
University of Florida Term Professorship. 2019.

Brown Democracy Medal, McCourtney Institute for Democracy at Penn State University. 2018.
  Positive impact on democracy for the Public Mapping Project.

Tides Pizzigati Prize. 2013. Public interest software for DistrictBuilder.

Strata Innovation Award. 2012. Data Used for Social Impact for DistrictBuilder.

American Political Science Association, Information and Technology Politics Section. 2012.
  Software of the Year for DistrictBuilder.

Politico. 2011. Top Ten Political Innovations for DistrictBuilder.

GovFresh. 2011. 2nd Place, Best Use of Open Source for DistrictBuilder.

Virginia Senate. 2010. Commendation for Virginia Redistricting Competition.

American Political Science Association, Information and Technology Politics Section. 2009.
  Software of the Year for BARD.




                                                 1
        Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 2 of 15




Publications
Books

Michael P. McDonald. Under Contract. The Art of Voting. New York, NY: Oxford University
  Press.

Michael P. McDonald and Micah Altman. 2018. The Public Mapping Project: How Public
  Participation Can Revolutionize Redistricting. Ithaca, NY: Cornell University Press.

Michael P. McDonald and John Samples, eds. 2006. The Marketplace of Democracy: Electoral
  Competition and American Politics. Washington DC: Brookings Press.

Micah Altman, Jeff Gill, and Michael P. McDonald. 2003. Numerical Issues in Statistical
  Computing for the Social Scientist. Hoboken, NJ: Wiley and Sons.

Peer-Reviewed Articles

Brian Amos and Michael P. McDonald. Forthcoming. “A Method to Audit the Assignment of
   Voters to Districts.” Political Analysis.

Matthew DeBell, Jon A. Krosnick, Katie Gera, David Yeager, and Michael McDonald.
  Forthcoming. “The Turnout Gap in Surveys: Explanations and Solutions.” Sociological
  Methods and Research.

Tyler Culberson, Suzanne Robbins, and Michael P. McDonald. 2019. “Small Donors in
  Congressional Elections.” American Politics Research 47(5): 970-99.

Micah Altman and Michael P. McDonald. 2017. “Redistricting by Formula: The Case of Ohio.”
  American Politics Research 46(1): 103-31.

Micah Altman, Eric Magar, Michael P. McDonald, and Alejandro Trelles. 2017. “Measuring
  Partisan Bias in a Multi-Party Setting: the Case of Mexico.” Political Geography 57(1): 1-12.

Brian Amos, Michael P. McDonald, and Russell Watkins. 2017. “When Boundaries Collide:
   Constructing a Database of Election and Census Data.” Public Opinion Quarterly 81(S1):
   385-400.

Trelles, Alejandro, Micah Altman, Eric Magar, and Michael P. McDonald. 2016. "Datos
   abiertos, transparencia y redistritación en México." Política y Gobierno 23(2): 331-364.

Michael P. McDonald. 2014. “Calculating Presidential Vote for Legislative Districts.” State
  Politics and Policy Quarterly 14(2): 196-204.



                                                2
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 3 of 15




Micah Altman and Michael P. McDonald. 2014. “Public Participation GIS: The Case of
  Redistricting.” Proceedings of the 47th Annual Hawaii International Conference on System
  Sciences, Computer Society Press.

Michael P. McDonald and Caroline Tolbert. 2012. “Perceptions vs. Actual Exposure to Electoral
  Competition and Political Participation.” Public Opinion Quarterly 76(3): 538-54.

Michael P. McDonald and Matthew Thornburg. 2012. “Interview Mode Effects: The Case of
  Supplementing Exit Polls with Early Voter Phone Surveys.” Public Opinion Quarterly 76(2):
  326-63.

Micah Altman and Michael P. McDonald. 2011. “BARD: Better Automated Redistricting.”
  Journal of Statistical Software 42(5): 1-28.

Michael P. McDonald. 2011. “The 2010 Election: Signs and Portents for Redistricting.” PS:
  Political Science and Politics 44(2): 311-15.

Richard Engstrom and Michael P. McDonald. 2011. “The Political Scientist as Expert Witness.”
   PS: Political Science and Politics 44(2): 285-89.

Michael P. McDonald. 2008. “Portable Voter Registration.” Political Behavior 30(4): 491–501.

Michael P. McDonald and Justin Levitt. 2008. “Seeing Double Voting: An Extension of the
  Birthday Problem.” Election Law Journal 7(2): 111-22.

Michael P. McDonald. 2007. “The True Electorate: A Cross-Validation of Voter File and
  Election Poll Demographics.” Public Opinion Quarterly 71(4): 588-602.

Michael P. McDonald. 2007. “Regulating Redistricting.” PS: Political Science and Politics
  40(4): 675-9.

Micah Altman, Jeff Gill, and Michael P. McDonald. 2007. “Accuracy: Tools for Accurate and
  Reliable Statistical Computing.” Journal of Statistical Software 21(1).

David Lublin and Michael P. McDonald. 2006. “Is It Time to Draw the Line? The Impact of
  Redistricting on Competition in State House Elections.” Election Law Journal 5(2): 144-57.

Michael P. McDonald. 2006. “Drawing the Line on District Competition.” PS: Political Science
  and Politics 39(1): 91-94.

Michael P. McDonald. 2006. “Re-Drawing the Line on District Competition.” PS: Political
  Science and Politics 39(1): 99-102.

Micah Altman, Karin MacDonald, and Michael P. McDonald. 2005. “From Crayons to
  Computers: The Evolution of Computer Use in Redistricting.” Social Science Computing
  Review 23(2): 334-46.



                                              3
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 4 of 15




Michael P. McDonald. 2004. “A Comparative Analysis of U.S. State Redistricting Institutions.”
  State Politics and Policy Quarterly 4(4): 371-96.

Michael P. McDonald. 2003. “On the Over-Report Bias of the National Election Study.”
  Political Analysis 11(2): 180-86.

Micah Altman and Michael P. McDonald. 2003. “Replication with Attention to Numerical
  Accuracy.” Political Analysis 11(3): 302-7.

Michael P. McDonald. 2002. “The Turnout Rate among Eligible Voters for U.S. States, 1980-
  2000.” State Politics and Policy Quarterly 2(2): 199-212.

Michael P. McDonald and Samuel Popkin. 2001. “The Myth of the Vanishing Voter.” American
  Political Science Review 95(4): 963-74. Reprinted 2006 in Classic Ideas and Current Issues
  in American Government, Bose and DiIulio, eds.

Micah Altman and Michael P. McDonald. 2001. “Choosing Reliable Statistical Software.” PS:
  Political Science and Politics. 43(3): 681-7.

Bernard Grofman, William Koetzel, Michael P. McDonald, and Thomas Brunell. 2000. “A New
  Look at Ticket Splitting: The Comparative Midpoints Model.” Journal of Politics 62(1): 24-
  50.
Samuel Kernell and Michael P. McDonald. 1999. “Congress and America's Political
  Development: Political Strategy and the Transformation of the Post Office from Patronage to
  Service.” American Journal of Political Science 43(3): 792-811.

Law Review Articles

Michael P. McDonald. 2019-2020. “The Predominance Test: A Judicially Manageable
  Compactness Standard for Redistricting.” Yale Law Review, Forum 129.

Micah Altman and Michael P. McDonald. 2013. “A Half-Century of Virginia Redistricting
  Battles: Shifting from Rural Malapportionment to Voting Rights and Participation.”
  University of Richmond Law Review 47: 771-831.

Micah Altman and Michael P. McDonald. 2012. "Redistricting Principles for the 21st Century."
  Case Western Law Review 62(4): 1179-1204.

Michael P. McDonald and Matthew Thornburg. 2010. “Registering the Youth: Preregistration
  Programs.” New York University Journal of Legislation and Public Policy 13(3): 551-72.

Micah Altman and Michael P. McDonald. 2010. “The Promise and Perils of Computers in
  Redistricting.” Duke J. Constitutional Law and Public Policy 5: 69-112.

Justin Levitt and Michael P. McDonald. 2007. “Taking the 'Re' out of Redistricting: State
   Constitutional Provisions on Redistricting Timing.” Georgetown Law Review 95(4): 1247-86.


                                              4
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 5 of 15




Peer-Reviewed Book Chapters

Michael P. McDonald. 2014. “Contextual Income Inequality and Political Behavior.” in Political
  Trust and Disenchantment with Politics: Comparative Perspectives from around the Globe,
  Christina Eder, Ingvill Mochmann, Markus Quandt eds. Leiden, Netherlands: Brill Publishers.

Michael P. McDonald. 2010. “Income Inequality and Participation in the United States.” in
  United in Diversity? Comparing Social Models in European and America, Jens Alber and
  Neil Gilbert, eds. New York, NY: Oxford University Press.

Michael P. McDonald. 2008. “Redistricting and the Decline of Competitive Congressional
  Districts.” in Mobilizing Democracy: A Comparative Perspective on Institutional Barriers
  and Political Obstacles, Margaret Levi, James Johnson, Jack Knight, and Susan Stokes, eds.
  New York, NY: Russell Sage Publications.

Michael P. McDonald. 2008. “Reforming Redistricting.” in Democracy in the States:
  Experiments in Elections Reform, Bruce Cain, Todd Donovan, and Caroline Tolbert, eds.
  Washington, DC: Brookings Press.

Michael P. McDonald. 2006. “Who's Covered? Section 4 Coverage Formula and Bailout” in The
  Future of the Voting Rights Act, David Epstein, Richard H. Pildes, Rodolfo O. de la Garza,
  and Sharyn O'Halloran, eds. New York, NY: Russell Sage Publications.

Micah Altman, Jeff Gill, and Michael P. McDonald. 2004. “A Comparison of the Numerical
  Properties of EI Methods” in Ecological Inference: New Methods and Strategies, Gary King,
  Ori Rosen, and Martin Tanner, eds. New York, NY: Cambridge University Press.

Non-Peer-Reviewed Book Chapters

Michael P. McDonald. 2018. “Challenges and Opportunities in Collecting Election
  Administration Data” in The Palgrave Handbook of Survey Research, David L. Vannette and
  Jon A. Krosnick, eds. New York, NY: Palgrave MacMillan.

Michael P. McDonald. 2018. “History and Promise and Blending Survey Data with Government
  Records on Turnout” in The Palgrave Handbook of Survey Research, David L. Vannette and
  Jon A. Krosnick, eds. New York, NY: Palgrave MacMillan.

Micah Altman and Michael P. McDonald. 2015. “Redistricting and Polarization” in American
  Gridlock: The Sources, Character, and Impact of Political Polarization, James Thurber and
  Antonie Yoshinaka, eds. Cambridge.

Micah Altman and Michael P. McDonald. 2015. "Florida Congressional Redistricting." Jigsaw
  Politics in the Sunshine State, Seth McKee, ed. Gainesville, FL: University Press of Florida.

Michael P. McDonald. 2013. "State Legislative Districting." Guide to State Politics and Policy,
  Richard Niemi and Joshua Dyck, eds. Washington, DC: CQ Press.


                                                5
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 6 of 15




Michael P. McDonald. 2013. “Democracy in American Elections” in Imperfect Democracies:
  The Democracy Deficit in Canada and the United States, Richard Simeon and Patti Lenard,
  eds. Vancouver, BC: University of British Columbia Press.

Micah Altman and Michael P. McDonald. 2012. “Technology for Public Participation in
  Redistricting” in Redistricting in the West, Gary Moncrief, ed. Lanham, MD: Lexington Press.

Michael P. McDonald and Thomas Schaller. 2011. “Voter Mobilization in the 2008 Presidential
  Election” in The Change Election: Money, Mobilization and Persuasion in the 2008 Federal
  Elections, David Magleby, ed. Philadelphia, PA: Temple University Press. (previously
  published as a Pew Charitable Trusts monograph).

Michael P. McDonald. 2011. “Congressional Redistricting” in Oxford Handbook of Congress,
  Frances Lee and Eric Schickler, eds. Cambridge, UK: Oxford University Press.

Michael P. McDonald. 2011. “Voter Turnout: Eligibility Has Its Benefits” in Controversies in
  Voting Behavior, 2nd Edition, Richard G. Niemi, Herbert F. Weisberg, and David Kimball,
  eds. Washington, DC: CQ Press.

Michael P. McDonald. 2010. “In Support of Non-Partisan Redistricting.” in Debating Reform:
  Conflicting Perspectives on How to Mend American Government and Politics, Richard Ellis
  and Mike Nelson, eds. Washington, DC: Congressional Quarterly Press.

Michael P. McDonald. 2010. “American Voter Turnout in Historical Perspective.” in Oxford
  Handbook of American Elections and Political Behavior, Jan Leighley, ed. Cambridge, UK:
  Oxford University Press.

Michael P. McDonald. 2009. “Mechanical Effects of Duverger’s Law in the USA.” in
  Duverger’s Law of Plurality Voting: The Logic of Party Competition in Canada, India, the
  United Kingdom and the United States, Bernard Grofman, André Blais and Shaun Bowler,
  eds. New York, NY: Springer.

Michael P. McDonald. 2008. "United States Redistricting: A Comparative Look at the 50
  States." in Redistricting in Comparative Perspective, Lisa Handley and Bernard Grofman,
  eds. Oxford, U.K.: Oxford University Press.

Michael P. McDonald and Matthew Thornburg. 2008. “State and Local Redistricting” in
  Political Encyclopedia of U.S. States and Regions, Donald Haider-Markel, ed. New York,
  NY: MTM Publishing.

Michael P. McDonald. 2006. “Redistricting and District Competition” in The Marketplace of
  Democracy, Michael P. McDonald and John Samples, eds. Washington, DC: Brookings
  Press.

Micah Altman, Karin Mac Donald, and Michael P. McDonald. 2005. “Pushbutton
  Gerrymanders? How Computing Has Changed Redistricting” in Party Lines: Competition,


                                              6
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 7 of 15




  Partisanship and Congressional Redistricting, Bruce Cain and Thomas Mann,
  eds. Washington, DC: Brookings Press.

Bruce Cain, Karin Mac Donald, and Michael P. McDonald. 2005. “From Equality to Fairness:
  The Path of Political Reform Since Baker v Carr” in Party Lines: Competition, Partisanship
  and Congressional Redistricting, Bruce Cain and Thomas Mann, eds. Washington, DC:
  Brookings Press.

Michael P. McDonald. 2005. “Validity, Data Sources” in Encyclopedia of Social Measurement,
  Vol. 3. Kimberly Kempf-Leonard, ed. San Deigo, CA: Elsevier Inc.

Michael P. McDonald. 2005. “Reporting Bias” in Polling in America: An Encyclopedia of Public
  Opinion. Benjamin Radcliff and Samuel Best, eds. Westport, CT: Greenwood Press.

Other Non-Peer Reviewed Academic Publications (Book Reviews, Invited Articles, etc.)

Michael P. McDonald and Thessalia Merivaki. 2015. “Voter Participation in Presidential
  Nomination Contests.” The Forum 13(4).

Michael P. McDonald. 2011. “Redistricting Developments of the Last Decade—and What's on
  the Table in This One.” Election Law Journal 10(3): 313-318.

Michael P. McDonald and Chrisopher Z. Mooney. 2011. “‘Pracademics’: Mixing an Academic
  Career with Practical Politics.” PS: Political Science and Politics 44(2): 251-53.

Michael P. McDonald. 2011. “Voter Turnout in the 2010 Midterm Election.” The Forum 8(4).

Michael P. McDonald. 2011. “Redistricting: The Most Political Activity in America by Charles
  S. Bullock III (book review).” American Review of Politics (Fall 2010/Spring 2011).

Michael P. McDonald. 2009. “'A Magnificent Catastrophe' Retold by Edward Larson (book
  review).” The Election Law Journal 8(3): 234-47.

Michael P. McDonald. 2008. “The Return of the Voter: Voter Turnout in the 2008 Presidential
  Election.” The Forum 6(4).

Michael P. McDonald. 2006. “American Voter Turnout: An Institutional Perspective by David
  Hill (book review).” Political Science Quarterly 121(3): 516-7.

Michael P. McDonald. 2006. "Rocking the House: Competition and Turnout in the 2006
  Midterm Election." The Forum 4(3).

Micah Altman and Michael P. McDonald. 2006. "How to Set a Random Clock (Remarks on
  Earnest 2006)." PS: Political Science and Politics 39(4): 795.

Michael P. McDonald. 2004. "Up, Up, and Away! Turnout in the 2004 Presidential
  Election." The Forum 2(4).


                                              7
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 8 of 15




Michael P. McDonald. 2004. "Drawing the Line on the 2004 Congressional
  Elections." Legislative Studies Section Newsletter (Fall): 14-18.

Michael P. McDonald. 2004. "2001: A Redistricting Odyssey." State Politics and Policy
  Quarterly 4(4): 369-370.

Micah Altman and Michael P. McDonald. 1999. "Resources for Testing and Enhancement of
  Statistical Software" in The Political Methodologist 9(1).

Michael P. McDonald. 1999. "Representational Theories of the Polarization of the House of
  Representatives" in Legislative Studies Section Newsletter, Extension of Remarks 22(2): 8-10.

Michael P. McDonald. 2003. "California Recall Voting: Nuggets of California Gold for Political
  Behavior." The Forum 1(4).

Reports

Michael P. McDonald. 2009. "Voter Preregistration Programs." Fairfax, VA: George Mason
  University.

Michael P. McDonald. 2009. Midwest Mapping Project. Fairfax, VA: George Mason University.

Michael P. McDonald and Matthew Thornburg. 2008. "The 2008 Virginia Election
  Administration Survey." Fairfax, VA: George Mason University.

Kimball Brace and Michael P. McDonald. 2005. "Report to the Election Assistance Commission
  on the Election Day Survey." Sept. 27, 2005.

Opinion Editorials

Michael P. McDonald. 2019. "Let 16-year-olds vote for L.A. school board." Los Angeles Times.
  May 8, 2019.

Michael P. McDonald. 2018. "I agree with Donald Trump, we should have voter ID. Here's how
  and why." USA Today. Jan. 15, 2018.

Michael P. McDonald. 2017. “The Russians are hacking. Luckily the Trump voter fraud
  commission isn't in charge.” USA Today. Sept. 23, 2017.

Michael P. McDonald. 2016. “Better Hope the Election is Not Close.” USA Today. Nov. 2, 2016.

Michael P. McDonald. 2016. “Blame Government for Voting Crisis.” USA Today. March 24,
  2016.

Michael P. McDonald, Peter Licari and Lia Merivaki. 2015. "The Big Cost of Using Big Data in
  Elections." The Washington Post. Oct. 18, 2015.



                                               8
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 9 of 15




Michael P. McDonald 2013. "Truths and Uncertainties that Surround the 2014 Midterms." The
  Hill. November 5, 2013.

Michael P. McDonald. 2011. “The Shape of Things to Come: New Software May Help the
  Public Have a Crucial Redrawing of Voting Districts.” Sojouners. April 2011: 11-12.

Micah Altman and Michael P. McDonald. 2011. "Computers: Redistricting Super Hero or Evil
  Mastermind?" Campaigns and Elections Magazine. January 2011.

Michael P. McDonald. 2010. "Who Voted in 2010, and Why It Matters for 2012." AOL News.
  Nov. 4, 2010.

Michael P. McDonald and Seth McKee. "The Revenge of the Moderates." The Politico. Oct. 10,
  2010.

Michael P. McDonald and Micah Altman. 2010. "Pulling Back the Curtain on Redistricting."
  The Washington Post. July 9, 2010.

Michael P. McDonald. 2008. "This May Be the Election of the Century." The Politico. Sept. 9,
  2008.

Michael P. McDonald. 2008. "Super Tuesday Turned into a Super Flop." Roll Call. Feb. 11,
  2008.

Michael P. McDonald. 2006. "5 Myths About Turning Out the Vote." The Washington
  Post. Oct. 29, 2006, p. B3.

Michael P. McDonald. 2006. "Supreme Court Lets the Politicians Run Wild." Roll Call. June
  29, 2006.

Michael P. McDonald. 2006. "Re-Redistricting Redux." The American Prospect. March 6, 2006.

Michael P. McDonald and Kimball Brace. "EAC Survey Sheds Light on Election
  Administration." Roll Call. Oct. 27, 2005.

Michael P. McDonald. 2004. “The Numbers Prove that 2004 May Signal More Voter
  Interest.” Milwaukee Journal Sentinel. Milwaukee, WI.

Michael P. McDonald. 2004. "Democracy in America?" La Vanguardia. Barcelona, Spain.

Michael P. McDonald. 2003. "Enhancing Democracy in Virginia." Connection Newspapers.
  March 24.

Michael P. McDonald. 2001. "Piecing Together the Illinois Redistricting Puzzle." Illinois
  Issues. March, 2001.




                                               9
      Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 10 of 15




Samuel Popkin and Michael P. McDonald. 2000. "Turnout's Not as Bad as You Think." The
  Washington Post. Nov. 5: B-1.

Samuel Popkin and Michael P. McDonald. 1998. "Who Votes? A Comparison of NES, CPS, and
  VNS Polls." Democratic Leadership Council Bluebook. Sept., 1998.

Software Packages

Micah Altman, Michael P. McDonald, and Azavea. 2012. “DistrictBuilder.” Open source
  software to enable public participation in redistricting. Source code available at Github.
  Project website, http://www.districtbuilder.org.

Micah Altman and Michael P. McDonald. 2007. "BARD: Better Automated Redistricting." R
  package available through CRAN. Source code available at Sourceforge.

Micah Altman, Jeff Gill, and Michael P. McDonald. 2004. "Accuracy: Tools for testing and
  improving accuracy of statistical results." R package available through CRAN.

Grants and Contracts
Election Data Administrative Data Research Facility. ($843,000) Alfred P. Sloan Foundation
   grant to collect precinct election results and boundary data and to upgrade DistrictBuilder
   software.

Virginia Election Data. ($6,500) Produced election data for The Washington Post’s 2019
   Virginia state elections coverage.

Audit of Assignment of Virginia Registered Voters to Districts. ($154,000). Work for the
  Virginia Department of Elections to audit the assignment of registered voters to districts.

National Voter File. ($125,000) Alfred P. Sloan Foundation grant to pilot the collection of a
  national voter file for academic and non-partisan purposes.

Pilot Study for Election Data Administrative Data Research Facility. ($125,000) Alfred P. Sloan
   Foundation grant to collect precinct election results and boundary data and to upgrade
   DistrictBuilder software.

Improving Integrity of Voter File Addresses. ($20,000) Colorado Secretary of State support to
  develop methods to improve voter file addresses.

Fabricating Precinct Boundaries. ($17,000). MIT Election Science and Data Lab support to
  explore fabricating precinct boundaries from geocoded voter files.

UF Informatics Post-Doc Top-Off Award. 2017. ($16,000). Funding from the UF Informatics
  Institute to provide additional post-doc funding in support of Hewlett Foundation grant.



                                                10
      Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 11 of 15




U.S. Election Project. 2016. ($50,000). Hewlett Foundation support for U.S. Election Project
  Activities.

UF Informatics Institute Seed Fund Award. 2016. ($48,000). Project funded by the UF
  Informatics Institute to explore the reliability of Florida’s voter registration file.

Election Forum. 2016. ($20,000). Project funded by the Pew Charitable Trusts for an election
   forum held at the University of Florida.

Survey of Voter File Accessibility. 2016. ($1,650). Contract from the Institute for Money in
  State Politics to survey costs and accessibility of states’ voter files.

Florida Election Reform. 2015. ($13,000). Project funded by Democracy Fund for an election
   reform forum held in Tallahassee, FL. Pew Charitable Trusts independently provided travel
   support for some speakers.

New York Redistricting. 2011. ($379,000). Project funded by the Sloan Foundation to provide
  for public redistricting in New York and continued software development.

Citizen Redistricting Education, Software Supplemental. 2011. ($50,000). Project funded by
   Joyce Foundation to provide continued redistricting software development for use by
   advocacy groups in six Midwestern states.

National Redistricting Reform Coordination. 2009-10. ($100,000). With Thomas Mann and
  Norman Ornstein. Project funded by Joyce Foundation to support coordination of national
  redistricting reform efforts by the Brookings Institution and the American Enterprise Institute.

Citizen Mapping Project. 2009-10. ($124,000 & $98,000). With Micah Altman, Thomas Mann,
   and Norman Ornstein. Project funded by the Alfred P. Sloan Foundation. An award to George
   Mason University enables development of software that, essentially, permits on-line
   redistricting through commonly used internet mapping programs. A second award to the
   Brookings Institution and American Enterprise Institute provides organizational support,
   including the convening of an advisory board.

Citizen Redistricting Education. 2010. ($104,000). Project funded by the Joyce Foundation.
   Provides for redistricting education forums in five Midwestern state capitals in 2010 and other
   continuing education efforts.

Pre-Registration Programs. 2008-9. ($86,000). Project funded by the Pew Charitable Trusts'
   Make Voting Work Initiative to examine pre-registration programs (voter registration for
   persons under age 18) in Florida and Hawaii.

Sound Redistricting Reform. 2006-9. ($405,000). Project funded by the Joyce Foundation,
  conducted jointly with the Brennan Center for Justice at NYU to investigate impacts of
  redistricting reform in Midwestern states.



                                                11
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 12 of 15




Electoral Competition Project. 2005-6. ($200,000) Project funded by The Armstrong
   Foundation, the Carnegie Corporation of New York, the JEHT Foundation, The Joyce
   Foundation, The Kerr Foundation, Inc., and anonymous donors. Jointly conducted by the
   Brookings Institution and Cato Institute to investigate the state of electoral competition in the
   United States.

George Mason University Provost Summer Research Grant. 2004. ($5,000).

ICPSR Data Document Initiative. 1999. Awarded beta test grant. Member, advisory committee
  on creation of electronic codebook standards.

Academic Experience
Courses Taught: Election Data Science (graduate and undergraduate), Election Law, Public
  Opinion and Voting Behavior, Parties and Campaigns (graduate and undergraduate),
  Comparative Electoral Institutions, Introduction to American Politics, American Politics
  Graduate Field Seminar, Congress, Legislative Politics, Research Methods (undergraduate),
  Advanced Research Methods (graduate), Freshman Seminar: Topics in Race and Gender
  Policies, and Legislative Staff Internship Program.

University of Florida

   •   Associate Professor. August 2014- Present.

George Mason University

   •   Associate Professor. May 2007 – May, 2014.
   •   Assistant Professor. Aug 2002 – May, 2007.

The Brookings Institution

   •   Non-Resident Senior Fellow. January 2006 – June 2016.
   •   Visiting Fellow. June 2004 – December 2006.

University of Illinois, Springfield. Assistant Professor. Aug 2000 – June 2002.
  Joint appointment in Political Studies Department and Legislative Studies Center.

Vanderbilt University. Assistant Professor. Aug 1999 – Aug 2000.

Harvard-MIT Data Center. Post-Doctoral Research Fellow. Sept. 1998 – Aug 1999.
  Developed Virtual Data Center, a web-based data sharing system for academics. Maintained
  Record of American Democracy (U.S. precinct-level election data).

University of California-San Diego



                                                 12
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 13 of 15




   •   Assistant to the Director for University of California, Washington DC program. Sept
       1997 – June 1998.
   •   Instructor for research methods seminar for UCSD Washington interns.
   •   Visiting Assistant Professor. Spring Quarter 1997.
   •   Visiting Assistant Professor. Summer Session, Aug 1996 and Aug 1997.
   •   Teaching Assistant/Grader. Aug 1991 – March 1997.

Professional Service
National Academy of Sciences, Member, Program Committee for “Workshop on 2020 Census
Data Products: Data Needs and Privacy Considerations.”
Non-Profit Voter Engagement Network, Member, Advisory Board. 2007 – present.
National States Geographic Information Council - Geo-Enabled Elections, Member, Circle of
Advisors. 2018 – present.
Election Sciences Conference-in-a-conference at the 207 Southern Political Science Association
Conference. Organizer. 2016.
Overseas Vote Foundation, Member, Advisory Board. 2005 – 2013.
National Capital Area Political Science Association, Member, Council, 2010 – 2012.
State Politics and Policy Quarterly, Editorial Board Member 2004-2011.
Virginia Public Access Project, Member, Board of Directors. 2004 – 2006.
Fairfax County School Board Adult and Community Education Advisory Committee,
Member. 2004 – 2005.
State Politics and Policy Quarterly, Guest Editor. Dec 2004 issue.

Related Professional Experience
Media Consultant

   •   Edison Media Research/Mitofsky International. Nov. 2018; Nov. 2004; Nov. 2006; Feb.
       2008; Nov. 2008. Worked national exit polling organization's “Decision Desk.”
   •   Associated Press. Nov. 2016 and Nov. 2010. Worked “Decision Desk.”
   •   ABC News. Nov. 2002. Worked “Decision Desk.”
   •   NBC News. Aug 1996. Analyzed polls during the Republican National Convention.

Redistricting/Elections Consultant.

   •   Consultant. 2019. Virginia Division of Elections. Audited the assignment of registered
       voters to districts.
   •   Expert Witness. 2018. Georgia Coalition for the Peoples’ Agenda, Inc. et. al v. Kemp.
       No. 1:18-cv-04727-ELR (N.D. Ga.)
   •   Expert Witness. 2018. Martin v. Kemp. Civil Action No. 1:18-cv-04776-LMM.
   •   Expert Witness. 2018. Georgia Coalition for the Peoples’ Agenda, Inc. v. Kemp. Civil
       Action No. 1:18-cv-04727-ELR.



                                              13
    Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 14 of 15




•   Expert Witness. 2018. Common Cause Indiana v. Lawson. Case No. 1:17-cv-3936-TWP-
    MPB (Indiana).
•   Expert Witness. 2017-18. Benisek v. Lamone. Case No. 13-cv-3233 (Maryland).
•   Expert Witness. 2016-2017. Vesilind v. Virginia State Board of Elections. Case No.
    CL15003886 (Virginia).
•   Expert Witness. 2016-2017. Fish v. Kobach. Case No. 2:16-cv-02105 (Kansas).
•   Expert Witness. 2016. Arizona Libertarian Party v. Reagan. Case No.: 2:16-cv-01019-
    DGC (Arizona).
•   Expert Witness. 2016. Georgia State Conf. of the NAACP, et al. v. Brian Kemp. Case No.
    2:16-cv-00219-WCO (Georgia).
•   Consultant. Federal Voting Assistance Program. 2014-2015. Analyzed voting experience
    of military and overseas voters.
•   Expert Witness. 2013-2014. Page v. Virginia State Board of Elections. No. 3:13-cv-678
    (E.D.VA).
•   Expert Witness. 2013-2014. Delgado v. Galvin. (D. MA).
•   Beaumont Independent School District. 2013. Prepared response to DOJ data request.
•   Federal Voting Assistance Program. 2012-13. Analyzed voting experience of military and
    overseas voters.
•   Gerson Lehrman Group. 2012. Provided election analysis to corporate clients.
•   Expert Witness. 2011-2012. Backus v. South Carolina. No. 3:11-cv-03120 (D.S.C.).
•   Expert Witness. 2012. Wilson v. Kasich. No. 2012-0019 (Ohio Sup. Ct.).
•   Consulting Expert. 2011-2012. Bondurant, Mixson, and Elmore, LLP. (Review of
    Georgia's state legislative and congressional redistricting Section 5 submission).
•   Consultant. 2012. New Jersey Congressional Redistricting Commission.
•   Expert Witness. 2011. Perez v. Texas. No. 5:11-cv-00360 (W.D. Tex.).
•   Expert Witness. 2011. Wilson v. Fallin. No. O-109652 (Okla. Sup. Ct.).
•   Consultant. 2011. United States Federal Voting Assistance Program.
•   Consultant. 2011. Virginia Governor’s Independent Bipartisan Advisory Redistricting
    Commission.
•   Consultant. 2011. New Jersey State Legislative Redistricting Commission.
•   Expert Witness. 2010. Healey v. State, et al. C.A. No. 10-316--S (USDC-RI).
•   Research Triangle Institute. 2008-2009. Consultant for Election Assistance Commission,
    2008 Election Day Survey.
•   U.S. State Department. 2008. Briefed visiting foreign nationals on U.S. elections.
•   Expert Witness. 2008. League of Women Voters of Florida v. Browning (08-21243-CV-
    ALTONAGA/BROWN)
•   Pew Center for the States. 2007. Consultant for Trends to Watch project.
•   Expert Witness. 2007. Washington Association of Churches v. Reed (CV06-0726).
•   Electoral Assistance Commission. 2005. Analyzed election administration surveys.
•   Arizona Independent Redistricting Commission. 2001-2003. Consultant.
•   Expert Witness. 2003. Minority Coalition for Fair Redistricting, et al. v. Arizona
    Independent Redistricting Commission CV2002-004380 (2003).
•   Expert Witness. 2003. Rodriguez v. Pataki 308 F. Supp. 2d 346 (S.D.N.Y 2004).


                                          14
       Case 1:18-cv-05391-SCJ Document 193-1 Filed 01/08/20 Page 15 of 15




   •   Consulting Expert. 2002. O'Lear v. Miller No. 222 F. Supp. 2d 850 (E.D. Mich.).
   •   Expert Witness. 2001-2002. In Re 2001 Redistricting Cases (Case No. S-10504).
   •   Expert Witness. 2001. United States v. Upper San Gabriel Valley Municipal Water
       District (C.D. Cal. 2000).
   •   California State Assembly. 1991. Consultant.
   •   Pactech Data and Research. Research Associate. Aug 1989 - June 1991.

Campaign/Political Consultant.

   •   Ron Christian for Virginia State Senate. June – November, 2003.
   •   Theresa Martinez for Virginia House of Delegates. May, 2003.
   •   Senior Consultant. California State Assembly. Nov. – Dec 1998.
   •   California Assembly Democrats. June – November 1998.
   •   Susan Davis & Howard Wayne for CA State Assembly ‘96. 1996.
   •   Intern. June – Sept 1995. UC-San Diego, Science and Technology Policy and Projects.

Polling Consultant.

   •   Hickman-Brown. July, 2000. Analyzed national and state level exit and CPS polls for
       use in various campaigns. Analyzed surveys for congressional, state, and local political
       campaigns.
   •   Decision Research. Aug 1994 – Dec 1994. Conducted and analyzes surveys for
       congressional and statewide campaigns.
   •   Speaker Jose de Venecia of the Philippines. Feb, 1997.
   •   Joong-Ang Ilbo/RAND. Oct, 1996. Analyzed survey of Korean attitudes on national
       security issues.
   •   UCSD. Nov. 1991. Conducted and analyzed survey of student attitudes.




                                               15
